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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                              CASE NO. 1:05CR36-SPM/AK

ALEXANDER C. LYONS,

         Defendant.
                                          /

                           REPORT AND RECOMMENDATION

         On this date, the Defendant, Alexander C. Lyons, his attorney, and the attorney

for the Government appeared before the undersigned for the purpose of considering

Defendant’s entry of a guilty plea to Count 1 of the indictment. The district judge

referred this matter to the undersigned for purposes of hearing Defendant's proposed

change of plea pursuant to Fed.R.Crim.P. 11 and to enter a report and recommendation

as to whether to accept the change of plea. All parties consented to this procedure, and

the written consent has been entered.

         The Court addressed Defendant personally in open court, and after assuring that

Defendant was competent to proceed and had consented to pleading guilty, the Court

finds:
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       1. Defendant is mentally alert, appears to be reasonably intelligent, and

understands the nature of the charges to which he is pleading guilty as well as the

consequences of a guilty plea.

       2. Defendant understands that he has a right to persist in his plea of not guilty,

to trial by jury, to assistance of counsel at trial, to confront and cross-examine adverse

witnesses, and that he has a right against compelled self-incrimination.

       3. Defendant understands the effect of the supervised release term; he

understands that the sentencing guidelines suggest a range for his sentence, but that

the district judge is no longer bound by those guidelines and may in his discretion

sentence him to a term shorter or longer than the range suggested by those guidelines.

Defendant also understands that he cannot withdraw his guilty plea if the sentence is

not what he expected.

       4. Defendant understands that by pleading guilty, he has waived the right to

have a jury determine beyond a reasonable doubt any fact or issue related to

sentencing and has agreed to allow the Court to decide by a preponderance of the

evidence all facts and issues related to sentencing.

       5. The plea of guilty by the Defendant has been freely, knowingly, and voluntarily

made and is not the result of force or threats or of any promises except for those

promises contained in the written plea agreement between the parties.

       6. Defendant is competent to plead guilty.

       7. Defendant understands that his answers during the plea colloquy, which were

under oath, may be later used against him in a prosecution for perjury or false

statement.

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       8. There is a factual basis for Defendant’s guilty plea.

       9. There is a plea agreement which should be accepted by the district court.

Defendant understands the terms of the plea agreement.

       10. Defendant has made his decision to plead guilty with the advice and counsel

of a competent attorney with whom Defendant acknowledged he was satisfied.

       11. Defendant has voluntarily consented to go forward with his plea of guilty

before the undersigned. He understands that he has waived the ten-day period for filing

objections to this report and recommendation, and he agrees that he has twenty-four

hours from receipt of a copy of this report and recommendation in which to file written

objections, if any. The United States also consents to this procedure, including the

shorter period for objections.

       Accordingly, it is RECOMMENDED that the Court ACCEPT the plea agreement

and Defendant’s plea of guilty.

       IN CHAMBERS at Gainesville, Florida, this 20th     day of March, 2005.



                                          s/ A. KORNBLUM
                                          ALLAN KORNBLUM
                                          UNITED STATES MAGISTRATE JUDGE



                                  NOTICE TO THE PARTIES

     A party may file specific, written objections to the proposed findings and
recommendations within 24 hours after receiving a copy of this report and recommendation.




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